 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480]269-7077
     Fax: [480] 614-9414
 4   Email: kyle@kinneylaw.net
 5
     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                      IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                              Chapter 11
10
     Arlene Silver and                                   Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,
                                                         NOTICE OF HEARING ON
12                                Debtors.               AMENDED DISCLOSURE
                                                         STATEMENT
13
                                                         DATE:         October 25, 2018
14                                                       TIME:         2:00 PM

15            To creditors, and other parties in interest in this matter: A Second Amended

16   Disclosure Statement and Second Amended Plan under Chapter 11 of the Bankruptcy Code

17   having been filed by Debtors Arlene and Ronald Silver on September 12, 2018 and June 9,

18   2018 respectively,

19            NOTICE IS HEREBY GIVEN, that:

20            1.    The hearing to consider approval of the disclosure statement shall be held at:

21   United States Bankruptcy Court for the District of Arizona, located at 230 N. 1st Avenue,

22   Courtroom 301, Phoenix, Arizona, on October 25, 2108 at 2:00 p.m.

23            2.    October 18, 2018 is fixed as the last day for filing and serving in accordance

24   with Fed. R. Bankr. P. 3017(a) written objections to the disclosure statement.

25            3.    Requests for copies of the disclosure statement and plan shall be mailed to

26   counsel for the Debtors, at 1717 N. 77th Street, Suite 6, Scottsdale, Arizona, 85257, or by

27   telephone call to 480-694-5697 and leaving a message of where the Plan and Disclosure

28   Statement shall be mailed.
 1          DATED this 28th day of September 2018
 2                                              LAW OFFICES OF KYLE A. KINNEY, PLLC
 3
 4                                              By:/s/ Kyle A. Kinney
                                                       Kyle A. Kinney, Esq.
 5                                                     1717 N. 77th Street, Suite 6
                                                       Scottsdale, AZ 85257
 6                                                     Attorney for Debtors
 7
 8   COPY of the foregoing mailed or served
     via electronic notification this 28thday
 9   of September 2018 to the below and
     Mailed via US Postal Service to those
10   On the attached mailing matrix:
11
     RENEE SANDLER SHAMBLIN
12   OFFICE OF THE U.S. TRUSTEE
                                                         Lori L. Winkelman
13   230 North First Avenue, Suite 204                   Amelia B. Valenzuela
     Phoenix, AZ 85003-1706                              Quarles & Brady LLP
14   Email: renee.s.shamblin@usdoj.gov                   Renaissance One
                                                         Two North Central Avenue
15   Kim Lepore                                          Phoenix, Arizona 85004-2391
     klepore@wrightlegal.net                             lori.winkelman@quarles.com
16   Jamin S. Neil                                       amelia.valenzuela@quarles.com
     jneil@wrightlegal.net                               Attorneys for Capital One, NA as servicer
17   WRIGHT, FINLAY & ZAK, LLP                           forGreenpoint Mortgage Funding, Inc.
     16427 N. Scottsdale Road, Suite 300
18   Scottsdale, Arizona 85254                           Joseph J. Tirello, Jr., Esq.
     Attorneys for Nissan                                ZIEVE, BRODNAX & STEELE, LLP
19
                                                         3550 North Central Avenue, Suite 625
     ALDRIDGE PITE, LLP
20   ecfazb@aldridgepite.com                             Phoenix, AZ 85012
     4375 Jutland Drive, Suite 200                       E-mail: Jtirello@zbslaw.com
21   P.O. Box 17933                                      Attorneys for U.S. Bank National Association,
     San Diego, CA 92177-0933                            as Trustee for Lehman Brothers Small Balance
22   Attorneys for Ocwen Loan Servicing                  Commercial Mortgage Pass-Through
23                                                       Certificates,
     Nationstar Mortgage LLC                             Series 2007-3
24   Robertson, Anschutz & Schneid, P.L.
     6409 Congress Avenue Suite 100
25   Boca Raton, FL 33487-2853||

26   See attached Mailing Matrix
27
28
     By:/s/ Paula D. Hillock
                                                   -2-
Label Matrix for local noticing         Wells Fargo Bank, N.A. as certificate trust   ARIZONA DEPARTMENT OF REVENUE
0970-2                                 c/o ALDRIDGE PITE, LLP                         ATTENTION BK PAYMENT UNIT
Case 2:17-bk-07624-SHG                 4375 Jutland Drive, Suite 200                  c/o 1275 W WASHINGTON ST.
District of Arizona                    P.O. Box 17933                                 PHOENIX, AZ 85007-2926
Phoenix                                San Diego, CA 92177-7921
Tue Sep 25 16:02:53 MST 2018
AZ DEPARTMENT OF REVENUE               Lee & Associates                               Nationstar Mortgage LLC
BANKRUPTCY & LITIGATION                c/o Sanford J. Germaine, P.C.                  Robertson, Anschutz & Schneid, P.L.
1600 W. MONROE, 7TH FL.                4040 East Camelback Road, Suite 110            6409 Congress Avenue
PHOENIX, AZ 85007-2650                 Phoenix, AZ 85018-2736                         Suite 100
                                                                                      Boca Raton, FL 33487-2853

Nissan-Infiniti LT                     PRA Receivables Management, LLC                U.S. Bank National Association, as Trustee f
Wright, Finlay & Zak, LLP              PO Box 41021                                   Zieve, Brodnax & Steele, LLP
c/o Jamin S Neil                       Norfolk, VA 23541-1021                         3550 N. Central Ave., Ste. 625
16427 N. Scottsdale Road, Suite 300                                                   PHOENIX, AZ 85012-0004
Scottsdale, AZ 85254-1597

U.S. Bankruptcy Court, Arizona         AMERICAN EXPRESS BANK, FSB                     ARIZONA DEPARTMENT OF REVENUE
230 North First Avenue, Suite 101      C/O BECKET AND LEE LLP                         2005 N. CENTRAL AVE., SUITE 100
Phoenix, AZ 85003-0608                 PO BOX 3001                                    PHOENIX, AZ 85004-1546
                                       MALVERN PA 19355-0701


ARIZONA DEPARTMENT OF REVENUE          American Express                               BVA Compass Bank
ATTENTION BK PAYMENT UNIT              Box 0001                                       PO Box 2210
c/o 2005 N CENTRAL AVE, SUITE 100      Los Angeles, CA 90096-8000                     Dectur, AL 35699-0001
PHOENIX, AZ 85004-1546


Bank of America                        COMPASS BANK                                   (p)CAPITAL ONE
PO Box 851001                          401 WEST VALLEY AVE                            PO BOX 30285
Dallas, TX 75285-1001                  HOMEWOOD, AL 35209-4800                        SALT LAKE CITY UT 84130-0285



Capital One, NA as servicer for        (p)CITIBANK                                    Citibank / The Home Depot
Greenpoint Mortgage Funding, Inc.      PO BOX 790034                                  PO Box 790328
c/o Molly J. Kjartanson                ST LOUIS MO 63179-0034                         St. Louis, MO 63179-0328
Quarles & Brady LLP
2 N. Central Avenue
Phoenix, AZ 85004-2391
Comenity Capital Bank/Paypal Credit    Deutsche Bank National Trust Company           Discover Bank
c/o Weinstein & Riley, PS              Ocwen Loan Servicing, LLC                      Discover Products Inc
2001 Western Ave., Ste 400             Attn: Bankruptcy Department                    PO Box 3025
Seattle, WA 98121-3132                 PO Box 24605                                   New Albany, OH 43054-3025
                                       West Palm Beach, FL 33416-4605

Law Office of Kyle A. Kinney, PLLC     Lee & Associates                               National Bank of Arizona
1717 N 77th St Ste 6                   c/o Sanford J. Germaine                        Legal Services, UT ZB11 0877
Scottsdale, AZ 85257-2253              4040 East Camelback Road, Suite 110            P.O. Box 30709
                                       Phoenix, Arizona 85018-2736                    Salt Lake City, UT 84130-0709


National Bank of Arizona               Nationstar Mortgage                            Nissan
c/o Outsource Receivables Management   PO Box 619063                                  POB 660366
12349 Washington Blvd.                 Dallas, TX 75261-9063                          Dallas, TX 75266-0366
Ogden, UT 84404
Nissan Motors Acceptance Corporation                 Ocwen Loan Servicing                                 Ocwen Loan Servicing, LLC
PO Box 742657                                        1661 Worthington Rd Ste 100                          c/o ALDRIDGE PITE, LLP
Cincinnati, OH 45274-2657                            West Palm Bch, FL 33409-6493                         4375 Jutland Drive, Suite 200
                                                                                                          P.O. Box 17933
                                                                                                          San Diego, CA 92177-7921

PayPal Credit                                        Rein & Grossoehme Commerical Real Estate LLC         Sam’s Club
Comenity Capital Bank                                James K Edwards Jr                                   PO Box 530981
PO Box 105658                                        8767 E. Via De Ventura, Suite 290                    Atlanta, GA 30353-0981
Atlanta, GA 30348-5658                               Scottsdale AZ 85258-3384


Sam’s Club                                           Sears / TGI Mastercard                               Synchrony Bank
PO Box 960013                                        PO Box 78051                                         c/o PRA Receivables Management, LLC
Orlando, FL 32896-0013                               Phoenix, AZ 85062-8051                               PO Box 41021
                                                                                                          Norfolk VA 23541-1021


Synchrony Bank / Gap Visa                            The Home Depot                                       U.S. Bank National Association
PO Box 965004                                        Fortiva                                              Nationstar Mortgage LLC
Orlando, FL 32896-5004                               Po Box 790393                                        ATTN: Bankruptcy Dept
                                                     Saint Louis, MO 63179-0393                           PO BOX 619094
                                                                                                          Dallas, TX 75261-9094

U.S. Bank National Association,                      U.S. TRUSTEE                                         Wells Fargo Bank, N.A.
Ocwen Loan Servicing, LLC                            OFFICE OF THE U.S. TRUSTEE                           Ocwen Loan Servicing, LLC
Attn: Bankruptcy Department                          230 NORTH FIRST AVENUE                               Attn: Bankruptcy Department
PO Box 24605                                         SUITE 204                                            PO Box 24605
West Palm Beach, FL 33416-4605                       PHOENIX, AZ 85003-1725                               West Palm Beach, FL 33416-4605

Wells Fargo Bank, N.A.                               Wells Fargo Cash on Demand Account                   Arlene Silver
Wells Fargo Card Services                            PO Box 660553                                        8329 E. Charter Oak Road
PO Box 10438, MAC F8235-02F                          Dallas, TX 75266-0553                                Scottsdale, AZ 85260-5230
Des Moines, IA 50306-0438


KYLE A. KINNEY                                       Ronald J Silver
LAW OFFICES OF KYLE A. KINNEY, PLLC                  42 Augusta Drive
1717 N 77TH ST., SUITE 6                             Deerfield, IL 60015-5067
SCOTTSDALE, AZ 85257-2253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One Bank                                     Citi Card                                            (d)The Home Depot
15000 Capital One Dr                                 PO Box 78045                                         PO Box 78011
Richmond, VA 23238-1119                              Phoenix, AZ 85062-8045                               Phoenix, AZ 85062-8011




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
